
45 So. 3d 544 (2010)
PANZER LAW, P.A., Appellant,
v.
U.S. SUGAR CORPORATION &amp; Gallagher Bassett, Appellees.
No. 1D10-0917.
District Court of Appeal of Florida, First District.
October 8, 2010.
Bill McCabe of Shepherd, McCabe &amp; Cooley, Longwood, and Gilbert R. Panzer, Jr., Boca Raton, for Appellant.
Carlos D. Cabrera, Hinda Klein and Danni Lynn Germano of Conroy, Simberg, Ganon, Krevans, Abel, Lurvey, Morrow &amp; Schefer, P.A., Hollywood, for Appellees.
PER CURIAM.
AFFIRMED. See Farnam v. U.S. Sugar Corp., 9 So. 3d 41, 42 (Fla. 1st DCA 2009) (holding that JCC could reject parties' stipulation where competent, substantial evidence supported a contrary finding).
WEBSTER, LEWIS, and MARSTILLER, JJ., concur.
